







		NO. 12-09-00118-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




GUILLERMO GALINDEZ,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW OF


JEROLD HAIRFORD AND 

RICHARD FOSTER, INDIVIDUALLY

AND AS PARTNERS OF ISIS 

REAL ESTATE SERVICES; §
	SMITH COUNTY, TEXAS

ISIS INVESTIGATIONS, INC. 

AND TIM LEE,

APPELLEES







MEMORANDUM OPINION


PER CURIAM


	Appellant Guillermo Galindez filed a notice of appeal evidencing his intent to appeal an
order granting summary judgment and sanctions in favor of Appellee Richard "Tony" Foster and an
order granting the same relief to Appellee Jerald "Tony" Hairford, both of which were signed on
March 26, 2009.  

	The orders Galindez seeks to appeal do not dispose of all parties and claims before the trial
court.  Absent a final judgment or an otherwise appealable interlocutory order, we have no
jurisdiction over the appeal.  See Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex. 2001). 
Therefore, on April&nbsp;28, 2009, this court notified Galindez, pursuant to Texas Rules of Appellate
Procedure 37.2 and 42.3, that the information received in this appeal does not show the jurisdiction
of this court  in that there is no final judgment or appealable order contained therein.  Galindez was
further notified that the appeal would be dismissed unless, on or before May 8, 2009, the information
was amended to show the jurisdiction of this court. 

	In response to this court's April 28, 2009 notice, Galindez, through his attorney of record,
notified this court that he agrees the orders are interlocutory and that he does not oppose dismissal
of the appeal.  Accordingly, this appeal is dismissed for want of jurisdiction.  Tex. R. App. P. 42.3©.

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.































(PUBLISH)


